Case 1:14-cv-01611-LO-JFA Document 897 Filed 04/05/18 Page 1 of 1 PageID# 24862



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


BMG RIGHTS MANAGEMENT (US) EEC. et at.

                      Plaintiffs,
                                                              Civil No. l:14-cv-1611
              v.
                                                              Hon. Eiam O'Grady
COX ENTERPRISES. INC, et al.

                      Defendants.


                                              ORDER


         The judgment of the United States Court of Appeals for the Fourth Circuit, entered on

  February 1. 2018. took effect on March 7. 2018. See Dkt. 896. The parties are therefore ordered

  to appear before this Court on April 27. 2018 at 10:00am for a status conference, and to

  determine a new trial date.


         It is SO ORDERED.



  April ^2018                                                         oraay
  Alexandria. Virginia                                        United States District Judge
